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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                               Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________

                               NOTICE OF WITHDRAWAL

       Pursuant to Local Rule of Criminal Procedure 44.5(d), please notice the withdrawal of

Chandler Routman as counsel for the Defendant in the above-captioned matter.



                                                   Respectfully submitted,
                                                   By: /s/_______________


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 15, 2020, I electronically filed the foregoing with

the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.


                                                     By: /s/ Chandler Routman
                                                     CHANDLER ROUTMAN




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